               Case 07-20186-MBK                                          Doc 1            Filed 07/20/07 Entered 07/20/07 14:15:01                                                                  Desc Main
Official Form 1 (4/07) Thomson West, Rochester, NY                                         Document     Page 1 of 43
                                                                   United States Bankruptcy Court                                                                                              Voluntary Petition
                                                                          DISTRICT OF NEW JERSEY
 Name of Debtor             (if individual, enter Last, First, Middle):                                                  Name of Joint Debtor              (Spouse)(Last, First, Middle):


 Fang, Jimmy
 All Other Names used by the Debtor in the last 8 years                                                                  All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                             (include married, maiden, and trade names):
 aka Fang, Jin Yong


 Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No.                                                        Last four digits of Soc. Sec./Compete EIN or other Tax I.D. No.
 (if more than one, state all):   1642                                                                                   (if more than one, state all):
 Street Address of Debtor (No. & Street, City, and State):                                                               Street Address of Joint Debtor                  (No. & Street, City, and State):
 34 Billie Ellis Lane
 Princeton NJ
                                                                                                ZIPCODE                                                                                                           ZIPCODE
                                                                                                08540
 County of Residence or of the                                                                                           County of Residence or of the
 Principal Place of Business:                    MERCER                                                                  Principal Place of Business:
 Mailing Address of Debtor                  (if different from street address):                                          Mailing Address of Joint Debtor                    (if different from street address):

 SAME
                                                                                                ZIPCODE                                                                                                           ZIPCODE


 Location of Principal Assets of Business Debtor                                                                                                                                                                   ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor             (Form of organization)
                                                                             Nature of Business                                                  Chapter of Bankruptcy Code Under Which
                                                                          (Check one box.)                                                       the Petition is Filed  (Check one box)
               (Check one box.)
                                                                          Health Care Business                                    Chapter 7                                         Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                          Single Asset Real Estate as defined                     Chapter 9                                          of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                          in 11 U.S.C. § 101 (51B)                                Chapter 11
     Corporation (includes LLC and LLP)                                                                                           Chapter 12                                        Chapter 15 Petition for Recognition
                                                                          Railroad                                                                                                  of a Foreign Nonmain Proceeding
     Partnership                                                                                                                  Chapter 13
                                                                          Stockbroker
     Other (if debtor is not one of the above                                                                                                 Nature of Debts        (Check one box)
                                                                          Commodity Broker
     entities, check this box and state type of                                                                                 Debts are primarily consumer debts, defined                                  Debts are primarily
                                                                          Clearing Bank
     entity below                                                                                                               in 11 U.S.C. § 101(8) as "incurred by an                                     business debts.
                                                                          Other                                                 individual primarily for a personal, family,
                                                                                                                                or household purpose"
                                                                             Tax-Exempt Entity
                                                                                 (Check box, if applicable.)                                              Chapter 11 Debtors:
                                                                          Debtor is a tax-exempt organization            Check one box:
                                                                          under Title 26 of the United States               Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                          Code (the Internal Revenue Code).                 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee           (Check one box)                                                   Check if:
     Full Filing Fee attached                                                                                              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
    Filing Fee to be paid in installments (applicable to individuals only). Must attach                                    to insiders or affiliates) are less than $2,190,000.
    signed application for the court’s consideration certifying that the debtor is unable
    to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                               Check all applicable boxes:
                                                                                                                             A plan is being filed with this petition
    Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach
    signed application for the court's consideration. See Offi cial Form 3B.                                                 Acceptances of the plan were solicited prepetition from one or more
                                                                                                                             classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                  THIS SPACE IS FOR COURT USE ONLY

      Debtor estimates that funds will be available for distribution to unsecured creditors.

      Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
      distribution to unsecured creditors.

 Estimated Number of                  1-         50-        100-          200-       1,000-       5,001-       10,001-       25,001        50,001-        OVER
 Creditors                            49         99         199           999        5,000       10,000        25,000        50,000        100,000        100,000



 Estimated              $0 to                        $10,000 to                         $100,001 to                       $1 million to                         Over
                       $10,000                        $100,000                           $1 million                       $100 million                       $100 million
 Assets

 Estimated              $0 to                        $50,000 to                         $100,001 to                       $1 million to                       More than
 Liabilities           $50,000                        $100,000                           $1 million                       $100 million                       $100 million
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Official Form 1 (4/07) Thomson West, Rochester, NY                    Document     Page 2 of 43                                                                       FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
 (This page must be completed and filed in every case)
                                                                                             Fang, Jimmy
                        All Prior Bankruptcy Cases Filed Within Last 8 Years                        (If more than two, attach additional sheet)
 Location Where Filed:                                                                      Case Number:                                           Date Filed:
 NONE
 Location Where Filed:                                                                      Case Number:                                           Date Filed:


 Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                   (If more than one, attach additional sheet)
 Name of Debtor:                                                                            Case Number:                                           Date Filed:

 District:                                                                                   Relationship:                                         Judge:


                                   Exhibit A                                                                                                 Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
       Exhibit A is attached and made a part of this petition
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
                                                                                       X     /s/ Andrew B. Finberg                                                       07/20/2007
                                                                                                       Signature of Attorney for Debtor(s)                   Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                                 Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                  (Check all applicable boxes.)

             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                              (Name of landlord that obtained judgment)


                                                              (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
             permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
             possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.
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Official Form 1 (4/07) Thomson West, Rochester, NY                 Document     Page 3 of 43                                                          FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Fang, Jimmy
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                     I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                     Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
signs the petition] I have obtained and read the notice required by
                                                                                     attached.
11 U.S.C. §342(b)
                                                                                     Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States           chapter of title 11 specified in this petition. A certified copy of the order
Code, specified in this petition.                                                    granting recognition of the foreign main proceeding is attached.
 X /s/ Fang, Jimmy
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)
                                                                                      07/20/2007
     07/20/2007                                                                       (Date)
     Date


                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
                                      Signature of Attorney
                                                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition
                                                                                preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
 X /s/ Andrew B. Finberg                                                        compensation and have provided the debtor with a copy of this document
     Signature of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
     Andrew B. Finberg AF1574                                                   and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
     Printed Name of Attorney for Debtor(s)
                                                                                11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                                bankruptcy petition preparers, I have given the debtor notice of the
     WIZMUR, GORDON & FINBERG, LLP                                              maximum amount before preparing any document for filing for a debtor or
     Firm Name                                                                  accepting any fee from the debtor, as required in that section. Official Form
                                                                                19B is attached.
     Evesham Commons, Suite 200
     Address

     525 Route 73 South
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     Marlton NJ                  08053
     856-988-9055                                                                Social Security number (If the bankruptcy petition preparer is not an
     Telephone Number                                                            individual, state the Social Security number of the officer, principal,
                                                                                 responsible person or partner of the bankruptcy petition preparer.) (Required
     07/20/2007                                                                  by 11 U.S.C. § 110.)
     Date

                    Signature of Debtor (Corporation/Partnership)                Address

I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to           X
file this petition on behalf of the debtor.

The debtor requests the relief in accordance with the chapter of title              Date
11, United States Code, specified in this petition.                              Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                 person, or partner whose Social Security number is provided above.
 X                                                                              Names and Social Security numbers of all other individuals who prepared or
                                                                                assisted in preparing this document unless the bankruptcy petition preparer is
     Signature of Authorized Individual
                                                                                not an individual.

     Printed Name of Authorized Individual



     Title of Authorized Individual                                              If more than one person prepared this document, attach additional sheets
                                                                                 conforming to the appropriate official form for each person.
     07/20/2007
                                                                                 A bankruptcy petition preparer’s failure to comply with the provisions of title 11
     Date
                                                                                 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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Official Form 1, Exhibit D (10/06) West Group, Rochester, NY   Filed 07/20/07 Entered 07/20/07 14:15:01                                      Desc Main
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                                           UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF NEW JERSEY


In re Fang, Jimmy                                                                                                         Case No.
                                                                                                                          Chapter 7


                                            Debtor(s)




         EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                          CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                1. Within the 180 days before the filing of my bankruptcy case,             I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                2. Within the 180 days before the filing of my bankruptcy case,             I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


                3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.      [Must be accompanied by a motion for determination
by the court.] [Summarize exigent circumstances here.]




       If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from
the agency that provided the briefing, together with a copy of any debt management plan developed through the agency. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must
be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not satisfied
with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be dismissed.
             Case 07-20186-MBK                      Doc 1
 Official Form 1, Exhibit D (10/06) West Group, Rochester, NY   Filed 07/20/07 Entered 07/20/07 14:15:01                                 Desc Main
                                                                Document     Page 5 of 43
               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                          Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                 so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                          Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                 reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                          Active military duty in a military combat zone.


                 5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:      /s/ Fang, Jimmy
 Date:    07/20/2007
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                                                                                              According to the calculations required by this statement:
  In re   FANG_ JAMES Y_                                                                         The presumption arises.
                  Debtor(s)                                                                      The presumption does not arise.
  Case Number:                                                                         (Check the box as directed in Parts I, III, and VI of this statement.)
                  (If known)


                               CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                         AND MEANS-TEST CALCULATION

In addition to Schedule I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly, whose debts are
primarily consumer debts. Joint debtors may complete one statement only.

                                           Part I. EXCLUSION FOR DISABLED VETERANS
          If you are a disabled veteran described in the Veteran’s Declaration in this Part I, (1) check the box at the beginning of the
          Veteran’s Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the
          verification in Part VIII. Do not complete any of the remaining parts of this statement.
  1
            Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
          defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
          defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).




                     Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
          Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
          a.    Unmarried. Complete only Column A ("Debtor’s Income") for Lines 3-11.
          b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
          penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
          living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
          Complete only Column A ("Debtor’s Income") for Lines 3-11.
          c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.        Complete both
  2
          Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 3-11.
          d.    Married, filing jointly.Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for
          Lines 3-11.
          All figures must reflect average monthly income recieved from all sources, derived during the six calendar
                                                                                                                                         Column A       Column B
          months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount
          of monthly income varied during the six months, you must divide the six month total by six, and enter the                      Debtor's       Spouse's
          result on the appropriate line.
                                                                                                                                          Income           Income
  3       Gross wages, salary, tips, bonuses, overtime, commissions.                                                                    $0.00          $

          Income from the operation of a business, profession, or farm.                  Subtract Line b from Line
          a and enter the difference in the appropriate column(s) of Line 4. Do not enter a number less
          than zero.             Do not include any part of the business expenses entered on Line b as a deduction
  4       in Part V.
            a.     Gross receipts                                                       $0.00
            b.     Ordinary and necessary business expenses                             $0.00
                                                                                                                                        $0.00          $
            c.     Business income                                                      Subtract Line b from Line a

           Rent and other real property income.           Subtract Line b from Line a and enter the difference
          in the appropriate column(s) of Line 5. Do not enter a number less than zero.     Do not include
          any part of the operating expenses entered on Line b as a deduction in Part V.
  5         a.     Gross receipts                                                       $0.00
            b.     Ordinary and necessary operating expenses                            $0.00
            c.     Rent and other real property income                                  Subtract Line b from Line a                     $0.00          $

  6       Interest, dividends, and royalties.                                                                                           $0.00          $

  7       Pension and retirement income.                                                                                                $0.00          $
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Official Form 22A (Chapter 7) (4/07)       - Cont.
                                                          Document     Page 7 of 43                                                                    2
         Any amounts paid by another person or entity, on a regular basis, for the household
  8      expenses of the debtor or the debtor's dependents, including child or spousal support.
         Do not include amounts paid by the debtor's spouse if Column B is completed.                                            $0.00        $

         Unemployment compensation.              Enter the amount in the appropriate column(s) of Line 9.
         However, if you contend that unemployment compensation recieved by you or your spouse
         was a benefit under the Social Security Act, do not list the amount of such compensation in
  9      Column A or B, but instead state the amount in the space below:

          Unemployment compensation claimed to
          be a benefit under the Social Security Act              $847.00
                                                           Debtor ________                     $
                                                                                       Spouse _________                          $0.00        $

          Income from all other sources.          If necessary, list additional sources on a separate page.
          Do not include any benefits received under the Social Security Act or payments received as
 10      a victim of a war crime, crime against humanity, or as a victim of international or domestic
         terrorism. Specify source and amount.
             a.                                                                               0
             b.                                                                               0

          Total and enter on Line 10                                                                                             $0.00        $
         Subtotal of Current Monthly Income for § 707(b)(7).        Add Lines 3 thru 10 in
 11      Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
         total(s).                                                                                                               $0.00        $

         Total Current Monthly Income for § 707(b)(7).       If Column B has been completed,
 12      add Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
         completed, enter the amount from Line 11, Column A.                                                                      $0.00




                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13      Annualized Current Monthly Income for § 707(b)(7).             Multiply the amount from Line 12 by
         the number 12 and enter the result.                                                                                              $0.00

         Applicable median family income.          Enter the median family income for the applicable state and
         household size. (This information is available by family size at   www.usdoj.gov/ust/      or from the clerk of
 14      the bankruptcy court.)
                                                                                                                                          $53,557.00
                                                 NEW JERSEY
         a. Enter debtor’s state of residence: ______________________                                       1
                                                                      b. Enter debtor’s household size: __________

         Application of Section 707(b)(7).      Check the applicable box and proceed as directed.

           The amount on Line 13 is less than or equal to the amount on Line 14.              Check the box for "The presumption does
 15      not arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

            The amount on Line 13 is more than the amount on Line 14.               Complete the remaining parts of this
         statement.

                     Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).

                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16      Enter the amount from Line 12.                                                                                                   $

         Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line
 17      11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor’s
         dependents. If you did not check box at Line 2.c, enter zero.                                                                    $

 18      Current monthly income for § 707(b)(2).        Subtract Line 17 from Line 16 and enter the result.                               $




                       Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                  Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
         National Standards: food, clothing, household supplies, personal care, and
 19      miscellaneous. Enter "Total" amount from IRS National Standards for Allowable Living Expenses for the
         applicable family size and income level. (This information is available at www.usdoj.gov/ust/
         or from the clerk of the bankruptcy court.)                                                                                      $

          Local Standards: housing and utilities; non-mortgage expenses.                  Enter the amount of the
 20A     IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size.
         (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                 $
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          Local Standards: housing and utilities; mortgage/rent expenses.               Enter, in Line a below, the
         amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size
         (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on
         Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line
         42; subtract Line b from Line a and enter the result in Line 20B.  Do not enter an amount less than zero.
 20B
          a.       IRS Housing and Utilities Standards; mortgage/rental expenses                               $
          b.       Average Monthly Payment for any debts secured by your
                   home, if any, as stated in Line 42                                                          $
          c.       Net mortgage/rental expense                                                                 Subtract Line b from Line a.   $

         Local Standards: housing and utilities; adjustment.             if you contend that the process set out in
         Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the IRS
         Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
         state the basis for your contention in the space below:
 21



                                                                                                                                              $

         Local Standards: transportation; vehicle operation/public transportation expense.
         You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
         operating a vehicle and regardless of whether you use public transportation.
         Check the number of vehicles for which you pay the operating expenses or for which the operating
 22      expenses are included as a contribution to your household expenses in Line 8.
              0     1     2 or more.

         Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for
         the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This
         information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                           $

         Local Standards: transportation ownership/lease expense; Vehicle 1.              Check the number
         of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
         expense for more than two vehicles.)

              1     2 or more.

         Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
         www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
 23      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
         Line a and enter the result in Line 23.     Do not enter an amount less than zero.


         a.       IRS Transportation Standards, Ownership Costs, First Car             $
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                       $                                                      $
                  as stated in Line 42
         c.        Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.

          Local Standards: transportation ownership/lease expense; Vehicle 2.
          Complete this Line only if you checked the "2 or more" Box in Line 23.
         Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
         the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
 24      from Line a and enter the result in Line 24. Do not enter an amount less than zero.
           a.        IRS Transportation Standards, Ownership Costs, Second Car                        $
           b.        Average Monthly Payment for any debts secured by Vehicle 2,
                     as stated in Line 42                                                             $
           c.        Net ownership/lease expense for Vehicle 2
                                                                                                      Subtract Line b from Line a.            $

         Other Necessary Expenses: taxes.             Enter the total average monthly expense that you actually incur
 25      for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self
         employment taxes, social security taxes, and Medicare taxes.           Do not include real estate or sales
         taxes.

         Other Necessary Expenses: mandatory payroll deductions.               Enter the total average monthly
 26      payroll deductions that are required for your employment, such as mandatory retirement contributions,
         union dues, and uniform costs.            Do not include discretionary amounts, such as non-mandatory
         401(k) contributions.                                                                                                                $
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          Other Necessary Expenses: life insurance.         Enter average monthly premiums that you actually
 27      pay for term life insurance for yourself.      Do not include premiums for insurance on your dependents,
                                                                                                                                           $
         for whole life or for any other form of insurance.
         Other Necessary Expenses: court-ordered payments.                Enter the total monthly amount that
 28      you are required to pay pursuant to court order, such as spousal or child support payments.        Do not
         include payments on past due support obligations included in Line 44.                                                             $

          Other Necessary Expenses: education for employment or for a physically or mentally
         challenged child. Enter the total monthly amount that you actually expend for education that is a
 29
         condition of employment and for education that is required for a physically or mentally challenged dependent
         child for whom no public education providing similar services is available.                                                       $

 30      Other Necessary Expenses: childcare.               Enter the average monthly amount that you actually expend on
         childcare - such as baby-sitting, day care, nursery and preschool.    Do not include other educational payments.                  $

         Other Necessary Expenses: health care.          Enter the average monthly amount that you actually
 31      expend on health care expenses that are not reimbursed by insurance or paid by a health savings account.
         Do not include payments for health insurance or health savings accounts listed in Line 34.                                        $

          Other Necessary Expenses: telecommunication services.                      Enter the average monthly amount
         that you actually pay for telecommunication services other than your basic home telephone service -- such
 32      as cell phones, pagers, call waiting, caller id, special long distance, or internet service -- to the extent
                                                                                                                                           $
         necessary for your health and welfare or that of your dependents.        Do not include any amount previously
         deducted.
 33      Total Expenses Allowed under IRS Standards.               Enter the total of Lines 19 through 32                                  $

                              Subpart B: Additional Expense Deductions under § 707(b)
                        Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance and Health Savings Account Expenses.                    List and total the average
         monthly amounts that you actually pay for yourself, your spouse, or your dependents in the following categories.

           a.     Health Insurance                $
 34
           b.     Disability Insurance            $
           c.     Health Savings Account          $
                                                   Total: Add Lines a, b and c                                                             $

         Continued contributions to the care of household or family members.                  Enter the actual
 35      monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
         elderly, chronically ill, or disabled member of your household or member of your immediate family who is
         unable to pay for such expenses.                                                                                                  $

         Protection against family violence.            Enter any average monthly expenses that you actually
 36      incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
         other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                      $

        Home energy costs.       Enter the average monthly amount, in excess of the allowance specified by IRS
 37     Local Standards for Housing and Utilities, that you actually expend for home energy costs.  You must
        provide your case trustee with documentation demonstrating that the additional amount claimed is
        reasonable and necessary.                                                                                                          $

         Education expenses for dependent children less than 18.                Enter the average monthly
         expenses that you actually incur, not to exceed $137.50 per child, in providing elementary and secondary
 38      education for your dependent children less than 18 years of age.      You must provide your case trustee
         with documentation demonstrating that the amount claimed is reasonable and necessary and
         not already accounted for in the IRS Standards.                                                                                   $

         Additional food and clothing expense.           Enter the average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to
 39      exceed five percent of those combined allowances. (This information is available at   www.usdoj.gov/ust/
         or from the clerk of the bankruptcy court.) You must provide your case trustee with documentation
         demonstrating that the additional amount claimed is reasonable and necessary.                                                     $

 40      Continued charitable contributions.              Enter the amount that you will continue to contribute in the
         form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                       $

 41      Total Additional Expense Deductions under § 707(b).              Enter the total of Lines 34 through 40                           $
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Official Form 22A (Chapter 7) (4/07)        - Cont.
                                                          Document      Page 10 of 43                                                      5
                                               Subpart C: Deductions for Debt Payment
         Future payments on secured claims.            For each of your debts that is secured by an interest in
         property that you own, list the name of creditor, identify the property securing the debt, and state the
         Average Monthly Payment. The Average Monthly Payment is the total of all amounts contractually due to
         each Secured Creditor in the 60 months following the filing of the bankruptcy case, divided by 60. Mortgage
         debts should include payments of taxes and insurance required by the mortgage. If necessary, list
         additional entries on a separate page.

                    Name of Creditor             Property Securing the Debt              60-Month Average Payment
 42       a.                                                                             $
          b.                                                                             $
          c.                                                                             $
          d.                                                                             $
          e.                                                                             $

                                                                                          Total: Add Lines a - e                     $

         Other payments on secured claims.                 If any of the debts listed in Line 42 are secured by your primary
         residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
         you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
         in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure amount
         would include any sums in default that must be paid in order to avoid repossession or foreclosure. List and
         total any such amounts in the following chart. If necessary, list additional entries on a separate page.

                  Name of Creditor               Property Securing the Debt                  1/60th of the Cure Amount
 43
          a.                                                                                 $
          b.                                                                                 $
          c.                                                                                 $
          d.                                                                                 $
          e.                                                                                 $

                                                                                                 Total: Add Lines a - e              $

 44      Payments on priority claims. Enter the total amount of all priority claims (including priority child
         support and alimony claims), divided by 60.                                                                                 $

         Chapter 13 administrative expenses.            If you are eligible to file a case under Chapter 13, complete
         the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
         administrative expense.


          a.    Projected average monthly Chapter 13 plan payment.                               $
 45             Current multiplier for your district as determined under                 x
          b.                                                                                     $
                schedules issued by the Executive Office for United States
                Trustees. (This information is available at www.usdoj.gov/ust/
                or from the clerk of the bankruptcy court.)

          c.     Average monthly administrative expense of Chapter 13 case                Total: Multiply Lines a and b              $


 46      Total Deductions for Debt Payment.            Enter the total of Lines 42 through 45.                                       $

                                     Subpart D: Total Deductions Allowed under § 707(b)(2)
 47      Total of all deductions allowed under § 707(b)(2).             Enter the total of Lines 33, 41, and 46.                     $




                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                      $

 49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                           $

 50      Monthly disposable income under § 707(b)(2).                Subtract Line 49 from Line 48 and enter the
         result                                                                                                                      $
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 51      60-month disposable income under § 707(b)(2).               Multiply the amount in Line 50 by the
         number 60 and enter the result.                                                                                                       $

         Initial presumption determination.           Check the applicable box and proceed as directed.
            The amount on Line 51 is less than $6,575            Check the box for "The presumption does not arise" at the top of page 1 of
         this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52         The amount set forth on Line 51 is more than $10,950.                  Check the box for "The presumption arises" at the top of
         page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
            The amount on Line 51 is at least $6,575, but not more than $10,950.                Complete the remainder of Part
         VI (Lines 53 through 55).

 53      Enter the amount of your total non-priority unsecured debt                                                                            $

 54      Threshold debt payment amount.                 Multiply the amount in Line 53 by the number 0.25 and enter
         the result.                                                                                                                           $

         Secondary presumption determination.               Check the applicable box and proceed as directed.

            The amount on Line 51 is less than the amount on Line 54.                 Check the box for "The presumption does not arise" at
 55      the top of page 1 of this statement, and complete the verification in Part VIII.
            The amount on Line 51 is equal to or greater than the amount on Line 54.                     Check the box for "The presumption
         arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.



                                              PART VII. ADDITIONAL EXPENSE CLAIMS
         Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
         health and welfare of you and your family and that you contend should be an additional deduction from your current
         monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
         your average monthly expense for each item. Total the expenses.
                  Expense Description                                                   Monthly Amount
 56
           a.                                                                            $
           b.                                                                            $
           c.                                                                            $
                                              Total: Add Lines a, b, and c               $



                                                             Part VIII: VERIFICATION
         I declare under penalty of perjury that the information provided in this statement is true and correct.    (If this a joint case,
         both debtors must sign.)

                                                    /s/ Fang, Jimmy
         Date: ________________________ Signature: _____________________________________________________________________
 57
                                                       (Debtor)
         Date: ________________________ Signature: _____________________________________________________________________
                                                       (Joint Debtor, if any )
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                                               UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF NEW JERSEY

   In re Fang, Jimmy                                                                                                                 Case No.
                                                                                                                                     Chapter 7


                                                                                                                       / Debtor




                                                              SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from Schedules D, E and F to determine the total
amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they file a case under chapter 7, 11, or
13.




                                             Attached            No. of
       NAME OF SCHEDULE                      (Yes/No)            Sheets                   ASSETS                           LIABILITIES                           OTHER

 A-Real Property
                                                Yes                 1           $                      0.00

 B-Personal Property
                                                Yes                 3           $               1,260.00

 C-Property Claimed as
   Exempt
                                                Yes                 1

 D-Creditors Holding Secured
   Claims
                                                Yes                 1                                              $                      0.00

 E-Creditors Holding
   Unsecured Priority Claims                    Yes                 1                                              $                      0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                                Yes                 6                                              $           127,025.76

 G-Executory Contracts and
   Unexpired Leases
                                                Yes                 1

 H-Codebtors
                                                Yes                 1

 I-Current Income of Individual
   Debtor(s)
                                                Yes                 1                                                                                 $                  847.00

 J-Current Expenditures of
   Individual Debtor(s)
                                                Yes                 1                                                                                 $              1,225.00

                                  TOTAL                           17             $               1,260.00           $           127,025.76
               Case 07-20186-MBK                     Doc 1         Filed 07/20/07 Entered 07/20/07 14:15:01
Official Form 6 - Statistical Summary (10/06) West Group, Rochester, NY                                                                     Desc Main
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                                               UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF NEW JERSEY

   In re Fang, Jimmy                                                                                                             Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.
 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E) (whether disputed or
   undisputed)                                                                                                    $       0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E)                             $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       12,278.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E
                                                                                                                  $       0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       12,278.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   847.00
   Average Expenses (from Schedule J, Line 18)                                                                        $   1,225.00
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   0.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   127,025.76
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   127,025.76
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In re Fang, Jimmy                                                                                                  Case No.
                                                    Debtor                                                                                              (if known)




                               DECLARATION CONCERNING DEBTOR'S SCHEDULES

                              DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of   18   sheets, and that they are true and
     correct to the best of my knowledge, information and belief.



     Date:   7/20/2007                                      Signature   /s/ Fang, Jimmy
                                                                        Fang, Jimmy
              Case 07-20186-MBK
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In re Fang, Jimmy                                                                                    / Debtor         Case No.
                                                                                                                                                     (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant,
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's
own benefit. If the debtor is married, state whether the husband, wife, or both own the property by placing an "H," "W ," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired
Leases.
If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C-Property Claimed as
Exempt.

                                                                                                                          Current
             Description and Location of Property                              Nature of Debtor's                                              Amount of
                                                                                                                           Value
                                                                              Interest in Property                   of Debtor's Interest,
                                                                                                                                             Secured Claim
                                                                                                       Husband--H    in Property Without
                                                                                                          Wife--W       Deducting any
                                                                                                          Joint--J    Secured Claim or
                                                                                                     Community--C         Exemption


None                                                                                                                                                      None




No continuation sheets attached                                                                TOTAL $                             0.00
                                                                        (Report also on Summary of Schedules.)
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In re Fang, Jimmy                                                                                              / Debtor            Case No.
                                                                                                                                                                       (if known)

                                                       SCHEDULE B-PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
"X" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own property by placing an
"H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the amount of
any exemptions claimed only in Schedule C-Property Claimed as Exempt.
Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."

                                                                                                                                                            Current
               Type of Property                    N              Description and Location of Property                                                       Value
                                                                                                                                                      of Debtor's Interest,
                                                   o                                                                              Husband--H          in Property Without
                                                                                                                                      Wife--W            Deducting any
                                                   n                                                                                                   Secured Claim or
                                                                                                                                     Joint--J
                                                   e                                                                            Community--C               Exemption


1. Cash on hand.                                   X

2. Checking, savings or other financial                Bank of America (checking account)                                                                       $ 600.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building        Location: In debtor's possession
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

                                                       Bank of America (savings account)                                                                          $ 60.00
                                                       Location: In debtor's possession


3. Security deposits with public utilities,        X
   telephone companies, landlords, and
   others.

4. Household goods and furnishings,                X
   including audio, video, and computer
   equipment.

5. Books, pictures and other art objects,              Coin and Stamp Collections                                                                               $ 500.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or              -misc. items
   collectibles.                                       -no individual item of significant value
                                                       Location: In debtor's possession


6. Wearing apparel.                                X

7. Furs and jewelry.                                   Jewelry                                                                                                    $ 50.00
                                                       -watch
                                                       Location: In debtor's possession


8. Firearms and sports, photographic, and              tennis racket                                                                                              $ 50.00
   other hobby equipment.
                                                       Location: In debtor's possession


9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.

10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in


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FORM B6B (10/05) West Group, Rochester, NY               Doc 1    Filed 07/20/07 Entered 07/20/07 14:15:01                         Desc Main
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In re Fang, Jimmy                                                                                       / Debtor     Case No.
                                                                                                                                                       (if known)

                                                       SCHEDULE B-PERSONAL PROPERTY

                                                                          (Continuation Sheet)

                                                                                                                                           Current
               Type of Property                    N             Description and Location of Property                                       Value
                                                                                                                                      of Debtor's Interest,
                                                   o                                                                 Husband--H       in Property Without
                                                                                                                         Wife--W         Deducting any
                                                   n                                                                                   Secured Claim or
                                                                                                                        Joint--J
                                                   e                                                               Community--C            Exemption

   26 U.S.C. 529(b)(1). Give particulars.
   (File separately the record(s) of any such
   interest(s). 11 U.S.C. 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or other       X
    pension or profit sharing plans. Itemize.

13. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.   X
    Itemize.

15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.

16. Accounts Receivable.                           X

17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.

18. Other liquidated debts owing debtor            X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.

21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.

22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other        X
    vehicles.

26. Boats, motors, and accessories.                X

27. Aircraft and accessories.                      X

28. Office equipment, furnishings, and             X
    supplies.




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                                                                                                                                                       (if known)

                                                  SCHEDULE B-PERSONAL PROPERTY

                                                                     (Continuation Sheet)

                                                                                                                                           Current
                 Type of Property             N             Description and Location of Property                                            Value
                                                                                                                                      of Debtor's Interest,
                                              o                                                                     Husband--H        in Property Without
                                                                                                                        Wife--W          Deducting any
                                              n                                                                                        Secured Claim or
                                                                                                                       Joint--J
                                              e                                                                   Community--C             Exemption

29. Machinery, fixtures, equipment and        X
    supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
    Give particulars.

33. Farming equipment and implements.         X

34. Farm supplies, chemicals, and feed.       X

35. Other personal property of any kind not   X
    already listed. Itemize.




Page      3       of   3                                                                                       Total                          $ 1,260.00
                                                                                                                   (Report total also on Summary of Schedules.)
                                                                                                         Include amounts from any continuation sheets attached.
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In re
        Fang, Jimmy                                                                            / Debtor           Case No.
                                                                                                                                                  (if known)

                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $136,875.
(Check one box)
   11 U.S.C. § 522(b) (2):
   11 U.S.C. § 522(b) (3):




                                                                     Specify Law                               Value of                 Current
             Description of Property                                Providing each                             Claimed             Value of Property
                                                                      Exemption                               Exemption            Without Deducting
                                                                                                                                      Exemptions

Bank of America (checking                           11 U.S.C. § 522(d)(5)                                          $ 600.00                    $ 600.00
account)

Bank of America (savings                            11 U.S.C. § 522(d)(5)                                            $ 60.00                    $ 60.00
account)

Coin and Stamp Collections                          11 U.S.C. § 522(d)(5)                                          $ 415.00                    $ 500.00
                                                    11 USC 522(d)(5)                                                $ 85.00

Jewelry                                             11 USC 522(d)(4)                                                 $ 50.00                    $ 50.00

tennis racket                                       11 USC 522(d)(3)                                                 $ 50.00                    $ 50.00




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In re Fang, Jimmy                                                                                      ,                                    Case No.
                                          Debtor(s)                                                                                                                                 (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property
of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not
disclose the child's name. See U.S.C. § 112. If a "minor child" is stated, also include the name, address, and legal relationship to the minor child of a person
described in Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
           If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)
           Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)"
on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of Collateral" also on the
Summary of Schedules and, if the debtor is an individual with primary consumer debts, report the total from the column labeled "Unsecured Portion, if Any"
on the Statistical Summary of Certain Liabilities and Related Data.




   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                              Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                                of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                       Unliquidated


              Including ZIP Code and
                                                                                                                       Contingent




                                                                 Value of Property Subject to Lien
                                                     Co-Debtor




                                                                                                                                         Deducting Value
                                                                                                                       Disputed


                  Account Number
              (See Instructions Above.)                          H--Husband                                                                 of Collateral
                                                                 W--Wife
                                                                 J--Joint
                                                                 C--Community
Account No:




                                                                    Value:

Account No:




                                                                    Value:

Account No:




                                                                    Value:

No continuation sheets attached                                                                                   Subtotal $                           $ 0.00                          $ 0.00
                                                                                                               (Total of this page)
                                                                                                                        Total $                        $ 0.00                          $ 0.00
                                                                                                           (Use only on last page)
                                                                                                                                      (Report also on Summary of   (If applicable, report also on
                                                                                                                                      Schedules.)                  Statistical Summary of
                                                                                                                                                                   Certain Liabilities and
                                                                                                                                                                   Related Data)
                      Case 07-20186-MBK
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                                                                                  Document      Page 21 of 43
   In re Fang, Jimmy                                                                                                        ,                               Case No.
                                                      Debtor(s)                                                                                                                    (if known)
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured
   claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code,
   and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the
   filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

         The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
   chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child's name. See 11 U.S.C. § 112. If a "minor
   child" is stated, also include the name, address and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
   appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them or the
   marital community may be liable on each claim by placing an "H", "W ", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is
   contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is
   disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the
   box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to
   priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts
   who file a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not
   entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with primarily consumer
   debts who file a case under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

   TYPES OF PRIORITY CLAIMS                      (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

          Domestic Support Obligations
          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
          U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
          of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
          were not delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and Certain Other Debts Owed to Governmental Units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to Maintain the Capital of an Insured Depository Institution
          Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
          Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
          Claims for Death or Personal Injury While Debtor Was Intoxicated
          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
          drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                                      No continuation sheets attached
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In re Fang, Jimmy                                                                                                 ,                                   Case No.
                                         Debtor(s)                                                                                                                                                           (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating
"a minor child" and do not disclose the child's name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship
to the minor child of a person described in Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this
page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

      If the claim is contingent, place an "X" in the column labeled "Cotingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

    Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules, and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical
Summary of Certain Liabilities and Related Data.
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                              Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          3529
Account No:                                                             7-1-07                                                                                                                           $ 4,977.35
Creditor # : 1                                                          Credit Card bills
Bank of America Visa
PO Box 55132
Phoenix AZ 85072-3132


Account No:     3529
Representing:                                                           Allied International Credit Co
                                                                        2101 W. Peoria Ave.
Bank of America Visa                                                    Suite 120
                                                                        Phoenix AZ 85029


Account No:     3529
Representing:                                                           Frederick J. Hanna & Associate
                                                                        1655 Enterprise Way
Bank of America Visa                                                    Marietta GA 30067



          1460
Account No:                                                             7-1-07                                                                                                                           $ 1,281.96
Creditor # : 2                                                          Credit Card bills
Best Buy
Retail Services
P.O. Box 17298
Baltimore MD 21297-1298

    5 continuation sheets attached                                                                                                                   Subtotal $                                          $ 6,259.31
                                                                                                                                                                    Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                                                NY      NY


In re Fang, Jimmy                                                                                                 ,                                   Case No.
                                        Debtor(s)                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                              Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                 including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          2946
Account No:                                                                                                                                                                                              $ 2,614.00
Creditor # : 3                                                          Credit Card bills
Capital One
P.O. Box 85520
Internal Zip 12030-016
Richmond VA 23285-5520

          8553
Account No:                                                             7-1-07                                                                                                                           $ 2,614.57
Creditor # : 4                                                          Credit Card bills
Capital One Bank
P.O. Box 85064
Glen Allen VA 23058


Account No:     8553
Representing:                                                           Account Solutions Group
                                                                        205 Bryant Woods South
Capital One Bank                                                        Amherst NY 14228



          4924
Account No:                                                             7-1-07                                                                                                                           $ 3,657.26
Creditor # : 5                                                          Credit Card bills
Direct Merchant's Bank
Payment Center
P.O. Box 105278
Atlanta GA 30348-5278

          6410
Account No:                                                             7-1-07                                                                                                                           $ 1,701.24
Creditor # : 6                                                          Credit Card bills
Discover
PO Box 15192
Wilmington DE 19850-5192


          3070
Account No:                                                                                                                                                                                              $ 1,810.00
Creditor # : 7                                                          Credit Card bills
Discover Financial Services
PO Box 15316
Wilmington DE 19850-5316




Sheet No.     1 of        5 continuation sheets attached to Schedule of                                                                              Subtotal $                                         $ 12,397.07
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                              Group,  Group, Rochester,
                                                NY      NY


In re Fang, Jimmy                                                                                                 ,                                   Case No.
                                        Debtor(s)                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                              Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                 including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          4289
Account No:                                                                                                                                                                                              $ 1,282.00
Creditor # : 8                                                          charge account
HSBC Best Buy
90 Christiana Road
New Castle DE 19720-3118


          3130
Account No:                                                             7-1-07                                                                                                                                 $ 0.00
Creditor # : 9
Macy's
P.O. Box 4564
Carol Stream IL 60197-4564


          8023
Account No:                                                                                                                                                                                                 $ 321.00
Creditor # : 10                                                         charge account
Macy's/Dsnb
911 Duke Blvd
Mason OH 45040


          7854
Account No:                                                             2-22-07                                                                                                                          $ 2,636.00
Creditor # : 11                                                         Medical Bill
Robert Wood Johnson Hospital
957 Rt. 33
P.O. Box 318
Hamilton Square NJ 08690

Account No:     7854
Representing:                                                           Robert Wood Johnson Hospital
                                                                        One Robert Wood Johnson Pl
Robert Wood Johnson Hospital                                            New Brunswick NJ 08540



Account No:     7854
Representing:                                                           Apex
                                                                        1891 Santa Barbara Drive
Robert Wood Johnson Hospital                                            #204
                                                                        Lancaster PA 17601




Sheet No.     2 of        5 continuation sheets attached to Schedule of                                                                              Subtotal $                                          $ 4,239.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                                                NY      NY


In re Fang, Jimmy                                                                                                 ,                                   Case No.
                                        Debtor(s)                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                              Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                 including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          9462
Account No:                                                             1-19-07                                                                                                                         $ 25,534.50
Creditor # : 12                                                         Medical Bill
Robert Wood Johnson Hospital
957 Rt. 33
P.O. Box 318
Hamilton Square NJ 08690

Account No:     9462
Representing:                                                           MCS Claim Services, Inc.
                                                                        123 Frost Street
Robert Wood Johnson Hospital                                            Suite 150
                                                                        Westbury NY 11590


Account No:     9462
Representing:                                                           Rickart Collection Systems
                                                                        575 Milltown Road
Robert Wood Johnson Hospital                                            P.O. Box 7242
                                                                        N. Brunswick NJ 08902


Account No:                                                                                                                                                                                                    $ 0.00
Creditor # : 13
Robert Wood Johnson Hospital
One Robert Wood Johnson Place

New Brunswick NJ             08903-1542

Account No:

Representing:                                                           Robert Wood Johnson Univ.
                                                                        P.O. Box 48211
Robert Wood Johnson Hospital                                            Newark NJ 07101



Account No:

Representing:                                                           Robert Wood Johnson University
                                                                        P.O. Box 15278
Robert Wood Johnson Hospital                                            Newark NJ 07192




Sheet No.     3 of        5 continuation sheets attached to Schedule of                                                                              Subtotal $                                         $ 25,534.50
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                                                NY      NY


In re Fang, Jimmy                                                                                                 ,                                   Case No.
                                        Debtor(s)                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                              Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                 including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          1111
Account No:                                                             2-6-07                                                                                                                          $ 62,927.88
Creditor # : 14                                                         Medical Bill
Robert Wood Johnson Hospital
957 Rt. 33
P.O. Box 318
Hamilton Square NJ 08690

Account No:     1111
Representing:                                                           Celentano, Stadtmauer & Walent
                                                                        1035 Rt. 46 East
Robert Wood Johnson Hospital                                            P.O. Box 2594
                                                                        Clifton NJ 07015-2594


          4551
Account No:                                                                                                                                                                                              $ 1,716.00
Creditor # : 15                                                         Student Loan
Sallie Mae
Po Box 1002
Arthur Dr Lynn
Haven FL 32444-1683

Account No:                                                                                                                                                                                                  Unknown
Creditor # : 16                                                         Medical Bill
The MEGA Life and Health
Insurance Company
P.O. Box 809025
Dallas TX 75380-9025

          7478
Account No:                                                             6-8-07                                                                                                                              $ 310.00
Creditor # : 17                                                         Medical Bill
University Radiology
PO Box 1075, 579A Cranbury Rd
East Brunswick NJ 08816-1075


Account No:     7478
Representing:                                                           Stephen R. Philpitt
                                                                        Suite B, 15 East Railroad Ave
University Radiology                                                    Jamesburg NJ 08831-1499




Sheet No.     4 of        5 continuation sheets attached to Schedule of                                                                              Subtotal $                                         $ 64,953.88
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                                                NY      NY


In re Fang, Jimmy                                                                                                 ,                                   Case No.
                                        Debtor(s)                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                              Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                 including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          7478
Account No:                                                             4-11-06                                                                                                                              $ 36.00
Creditor # : 18                                                         Medical Bill
University Radiology
P.O. Box 1075
579A Cranbury Road
E. Brunswick NJ 08816-1075

          7478
Account No:                                                             8-1-06                                                                                                                           $ 2,424.00
Creditor # : 19                                                         Medical Bill
University Radiology
P.O. Box 1075
579A Cranbury Road
E. Brunswick NJ 08816-1075

          7478
Account No:                                                             5-11-07                                                                                                                             $ 620.00
Creditor # : 20                                                         Medical Bill
University Radiology
P.O. Box 1075
579A Cranbury Road
E. Brunswick NJ 08816-1075

          5801
Account No:                                                                                                                                                                                             $ 10,562.00
Creditor # : 21                                                         Student Loan
US Department of Edu. Afsa
PO Box 7202
Attn: Mary Morosco
Utica NY 13504-7202

Account No:




Account No:




Sheet No.     5 of        5 continuation sheets attached to Schedule of                                                                              Subtotal $                                         $ 13,642.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules                                     $ 127,025.76
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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In re Fang, Jimmy                                                                                           / Debtor            Case No.
                                                                                                                                                                   (if known)


                 SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating
"minor child" and do not disclose the child's name. See 11 U.S.C 112 Fed.R.Bankr.P. 1007(m).




   Check this box if the debtor has no executory contracts or unexpired leases.

              Name and Mailing Address,                                                       Description of Contract or Lease and
                including Zip Code, of                                                             Nature of Debtor's Interest.
                other Parties to Lease                                                 State whether Lease is for Nonresidential Real Property.
                     or Contract                                                        State Contract Number of any Government Contract.




                                                                                                                                                     Page     1 of          1
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In re Fang, Jimmy                                                                                 / Debtor          Case No.
                                                                                                                                                 (if known)


                                                      SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in
the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California Idaho, Louisiana, Nevada, New Mexico, Puerto Rico Texas, Washington, or Wisconsin) within the eight year
period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of any former spouse who resides or resided
with the debtor in the community property state, commonwealth, or territory.In community property states, a married debtor not filing a joint case should
report the name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the eight years
immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, indicate that by stating "a minor child" and do not
disclose the childs name. See 11 U.S.C 112 ; Fed.Bankr.P. 1007(m).
   Check this box if the debtor has no codebtors.

                      Name and Address of Codebtor                                                  Name and Address of Creditor




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In re Fang, Jimmy                                                                                         ,                    Case No.
                                                Debtor(s)                                                                                                 (if known)


                         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
   Debtor's Marital                                                                DEPENDENTS OF DEBTOR AND SPOUSE
    Status:                        RELATIONSHIP(S):                                                                                AGE(S):
      Single



  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     unemployed
  Name of Employer               permanent disability
  How Long Employed              1 year
  Address of Employer            ...
                                 .... ....            ...
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (pro rate if not paid monthly)                           $                            0.00 $                             0.00
  2. Estimate Monthly Overtime                                                                             $                            0.00 $                             0.00
  3. SUBTOTAL                                                                                              $                            0.00 $                             0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll Taxes and Social Security                                                                 $                            0.00      $                        0.00
      b. Insurance                                                                                         $                            0.00      $                        0.00
      c. Union Dues                                                                                        $                            0.00      $                        0.00
      d. Other (Specify):                                                                                  $                            0.00      $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                            0.00 $                             0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                            0.00 $                             0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                            0.00 $                             0.00
  8. Income from Real Property                                                                             $                            0.00 $                             0.00
  9. Interest and dividends                                                                                $                            0.00 $                             0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                            0.00 $                             0.00
  of dependents listed above.
  11. Social Security or government assistance
    Specify: Social Security Disability                                                                    $                          847.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    Specify:                                                                                               $                            0.00 $                             0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                       847.00 $                             0.00
  15. AVERAGE MONTHLY INCOME               (Add amounts shown on lines 6 and 14)                              $                       847.00 $                             0.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                      847.00
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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In re Fang, Jimmy                                                                                             ,                           Case No.
                                                   Debtor(s)                                                                                                                 (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

      Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Pro rate any payments made
bi-weekly, quarterly, semi-annually, or annually to show monthly rate.


   Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
   "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)       ..............................................................................................................
                                                                                                                                                         $                     400.00
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel  ..........................................................................................................................................
                                                                                                                                                          $                        0.00
                b. Water and sewer                                                                                                                        $                        0.00
                c. Telephone       ........................................................................................................................................................
                                                                                                                                                          $                      50.00
                d. Other                                                                                                                                  $                        0.00
                   Other     ..............................................................................................................................................................
                                                                                                                                                          $                        0.00
                   Other                                                                                                                                  $                        0.00
 3. Home maintenance (repairs and upkeep)          ........................................................................................................................................
                                                                                                                                                          $                         0.00
 4. Food                                                                                                                                                  $                     250.00
 5. Clothing    .........................................................................................................................................................................
                                                                                                                                                        $                     100.00
 6. Laundry and dry cleaning                                                                                                                              $                        0.00
 7. Medical and dental expenses          ..................................................................................................................................................
                                                                                                                                                          $                     200.00
 8. Transportation (not including car payments)                                                                                                           $                     100.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.         ..............................................................................................................
                                                                                                                                                         $                       50.00
 10. Charitable contributions                                                                                                                             $                        0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's     ..............................................................................................................................................
                                                                                                                                                          $                         0.00
              b. Life                                                                                                                                     $                        0.00
              c. Health    ................................................................................................................................................................
                                                                                                                                                         $                         0.00
              d. Auto                                                                                                                                     $                        0.00
              e. Other    .................................................................................................................................................................
                                                                                                                                                          $                         0.00
                 Other                                                                                                                                    $                        0.00
                 Other    .................................................................................................................................................................
                                                                                                                                                          $                         0.00
  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto        .................................................................................................................................................................
                                                                                                                                                          $                         0.00
           b. Other:                                                                                                                                      $                        0.00
           c. Other:      .................................................................................................................................................................
                                                                                                                                                          $                         0.00
           d. Other:                                                                                                                                      $                  0.00
 14. Alimony, maintenance, and support paid to others .............................................................................................................................
                                                                                                                                                    $                        0.00
 15. Payments for support of additional dependents not living at your home                                                                          $                        0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)   .................................................................................
                                                                                                                                                    $                        0.00
 17. Other: personal care                                                                                                                           $                      75.00
     Other: .........................................................................................................................................................................
                                                                                                                                                    $                        0.00
     Other:                                                                                                                                         $                        0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 1,225.00
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $                   847.00
     b. Average monthly expenses from Line 18 above                                                                                                       $                 1,225.00
     c. Monthly net income (a. minus b.)                                                                                                                  $                 (378.00)
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                                               UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF NEW JERSEY


In re Fang, Jimmy                                                                                                           Case No.
                                                                                                                            Chapter 7



                                                                                                             / Debtor




                               CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
     I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
        I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.

     I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:
                                                                                                                 Property will be Property is   Property will be   Debt will be
                                                                                                                 Surrendered      claimed as    redeemed           reaffirmed
Description of Secured Property                              Creditor's Name                                                      exempt        pursuant to        pursuant to
                                                                                                                                                11 U.S.C. § 722    11 U.S.C. § 524(c)


            None




                                                                                            Lease will be
                                                                                            assumed
 Description of Leased Property                              Lessor's Name                  pursuant
                                                                                            to 11 U.S.C.
                                                                                            § 362(h)(1)(A)




                                                                       Signature of Debtor(s)



Date:   07/20/2007                                           Debtor:   /s/ Fang, Jimmy


Date:                                                        Joint Debtor:




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In re:Fang, Jimmy                                                                                                           Case No.
      aka Fang, Jin Yong



                                                               STATEMENT OF FINANCIAL AFFAIRS
            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor
children by stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
19-25. If the answer to an applicable question is "None," or the question is not applicable, mark the box labeled "None." If additional space is needed for
the answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.




                                                                               DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in business" for the purpose of
this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.


1. Income from employment or operation of business
     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including part-time activities
     either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was commenced. State also the gross amounts
     received during the two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a
     calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse
     separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)

AMOUNT                                                      SOURCE

Year to date:2007:                                          social security disability
$5,929.00                                                   social security disability
   Last Year: 2006:                                         wages
$9,468.00
Year before:2005:
$29,829.00

2. Income other than from employment or operation of business
     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years immediately
     preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
     chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NONE




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3. Payments to creditors
    Complete a. or b., as appropriate, and c.

    a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any creditor, made
    within 90 days immediately preceding the commencement of this case if the aggregate value of all property that constitutes or is affected by such transfer is not less
    than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment
    schedule under a plan by an approved nonprofit budgeting and creditor counseling agency.(Married debtors filing under chapter 12 or chapter 13 must include payments by
    either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
    commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,475. (Married debtors filing under
    chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
    a joint petition is not filed.)

    NONE



    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were insiders.
    (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
    separated and joint petition is not filed.)

    NONE



4. Suits and administrative proceedings, executions, garnishments and attachments
    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case. (Married
    debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
    separated and a joint petition is not filed.)

    NONE



    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement of this
    case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
    unless the spouses are separated and a joint petition is not filed.)

    NONE



5. Repossessions, foreclosures and returns
    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within one
    year immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
    both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



6. Assignments and receiverships
    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.(Married debtors filing
    under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
    petition is not filed.)

    NONE



    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of this
    case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
    unless the spouses are separated and a joint petition is not filed.)

    NONE



7. Gifts
    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family members
    aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.(Married debtors filing under chapter


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    12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
    not filed.)

    NONE



8. Losses
    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of this case.
    (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
    and a joint petition is not filed.)

    NONE



9. Payments related to debt counseling or bankruptcy
    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation, relief
    under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.

    NONE



10. Other transfers
    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as security
    within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both
    spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE




    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device of which the
    debtor is a benificiary.

    NONE



11. Closed financial accounts
    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within one year
    immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and
    share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under
    chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the
    spouses are separated and a joint petition is not filed.)

    NONE



12. Safe deposit boxes
    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
    commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint
    petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



13. Setoffs
    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married debtors
    filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
    a joint petition is not filed.)

    NONE




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14. Property held for another person
    List all property owned by another person that the debtor holds or controls.

    NONE



15. Prior address of debtor
    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
    vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

    NONE



16. Spouses and Former Spouses
    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico,
    Puerto Rico, Texas, Washington, or W isconsin) within eight years period immediately preceding the commencement of the case, identify the name of the debtor's spouse
    and of any former spouse who resides or resided with the debtor in the community property state.

    NONE



17. Environmental Information
    For the purpose of this question, the following definitions apply:

    "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances, wastes or
    material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
    wastes, or material.

      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the debtor,
      including, but not limited to disposal sites.

      "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or similar term
      under an Environmental Law:

    a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under or in
    violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:

    NONE



    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the governmental unit
    to which the notice was sent and the date of the notice.

    NONE



    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a party. Indicate
    the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

    NONE



18. Nature, location and name of business
    a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses in
    which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade,
    profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case.

        If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
      in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the commencment of this case.

        If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
      in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencment of this case.


    NONE




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   b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


   NONE




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and
any attachments thereto and that they are true and correct.



       Date   07/20/2007                             Signature       /s/ Fang, Jimmy
                                                     of Debtor


                                                     Signature
       Date
                                                     of Joint Debtor
                                                     (if any)




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                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF NEW JERSEY

        Fang, Jimmy                                                                                 Case No.
In re
        aka Fang, Jin Yong                                                                          Chapter 7
                                                                                         / Debtor
        Attorney for Debtor:   Andrew B. Finberg

                                      STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               800.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                        0.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   800.00

3. $             299.00             of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
     None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 07/20/2007                                  Respectfully submitted,


                                              X /s/ Andrew B. Finberg
                        Attorney for Petitioner: Andrew B. Finberg
                                                 WIZMUR, GORDON & FINBERG, LLP
                                                 Evesham Commons, Suite 200
                                                 525 Route 73 South
                                                 Marlton NJ 08053
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                    Account Solutions Group
                    205 Bryant Woods South
                    Amherst, NY   14228

                    Allied International Credit Co
                    2101 W. Peoria Ave.
                    Suite 120
                    Phoenix, AZ 85029

                    Apex
                    1891 Santa Barbara Drive
                    #204
                    Lancaster, PA 17601

                    Bank of America
                    PO Box 55132
                    Phoenix, AZ 85072-3132

                    Best Buy
                    Retail Services
                    P.O. Box 17298
                    Baltimore, MD 21297-1298

                    CAPITAL ONE
                    P.O. Box 85520
                    Internal Zip 12030-016
                    Richmond, VA 23285-5520

                    Capital One Bank
                    P.O. Box 85064
                    Glen Allen, VA 23058

                    Celentano, Stadtmauer & Walent
                    1035 Rt. 46 East
                    P.O. Box 2594
                    Clifton, NJ   07015-2594

                    Direct Merchant's Bank
                    Payment Center
                    P.O. Box 105278
                    Atlanta, GA 30348-5278

                    Discover
                    PO Box 15192
                    Wilmington, DE    19850-5192

                    Discover Financial Services
                    PO Box 15316
                    Wilmington, DE 19850-5316

                    Frederick J. Hanna & Associate
                    1655 Enterprise Way
                    Marietta, GA 30067

                    HSBC Best Buy
                    90 Christiana Road
                    New Castle, DE 19720-3118
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                    MACY'S
                    P.O. Box 4564
                    Carol Stream, IL    60197-4564

                    Macy's/Dsnb
                    911 Duke Blvd
                    Mason, OH 45040

                    MCS Claim Services, Inc.
                    123 Frost Street
                    Suite 150
                    Westbury, NY   11590

                    Rickart Collection Systems
                    575 Milltown Road
                    P.O. Box 7242
                    N. Brunswick, NJ   08902

                    Robert Wood Johnson Hospital
                    One Robert Wood Johnson Place

                    New Brunswick, NJ     08903-1542

                    Robert Wood Johnson Hospital
                    One Robert Wood Johnson Pl
                    New Brunswick, NJ   08540

                    Robert Wood Johnson Hospital
                    957 Rt. 33
                    P.O. Box 318
                    Hamilton Square, NJ 08690

                    Robert Wood Johnson Univ.
                    P.O. Box 48211
                    Newark, NJ   07101

                    Robert Wood Johnson University
                    P.O. Box 15278
                    Newark, NJ   07192

                    Sallie   Mae
                    Po Box   1002
                    Arthur   Dr Lynn
                    Haven,   FL 32444-1683

                    Stephen R. Philpitt
                    Suite B, 15 East Railroad Ave
                    Jamesburg, NJ   08831-1499
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                    The MEGA Life and Health
                    Insurance Company
                    P.O. Box 809025
                    Dallas, TX 75380-9025

                    University Radiology
                    PO Box 1075, 579A Cranbury Rd
                    East Brunswick, NJ   08816-1075

                    University Radiology
                    P.O. Box 1075
                    579A Cranbury Road
                    E. Brunswick, NJ   08816-1075

                    US Department of Edu. Afsa
                    PO Box 7202
                    Attn: Mary Morosco
                    Utica, NY   13504-7202
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                                 UNITED STATES BANKRUPTCY COURT

            NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                          OF THE BANKRUPTCY CODE
                In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services
        available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the
        four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy
        crimes and notifies you that the Attorney General may examine all information you supply in
        connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
        easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and
        responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies

         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies.

         In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
         1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a ³means test´ designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median
income for your state of residence and family size, in some cases, creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the
case should be dismissed.
         2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds
to pay your creditors.
         3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you
are found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may
deny your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
         4. Even if you receive a general discharge, some particular debts are not discharged under the law.
Therefore, you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable
taxes; domestic support and property settlement obligations; most fines, penalties, forfeitures, and criminal
restitution obligations; certain debts which are not properly listed in your bankruptcy papers; and debts for death or
personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs.
Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.


        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $39 administrative fee: Total fee $274)
        1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that
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you owe them, using your future earnings. The period allowed by the court to repay your debts may be three years
or five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
         3. After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time
from future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury,
either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information
supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the
Office of the United States Trustee, the Office of the United States Attorney, and other components and employees of the
Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                                     Certificate of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor¶s petition, hereby certify that I delivered to the debtor this notice
required by § 342(b) of the Bankruptcy Code.
________________________________________                                                 ___________________________________
Printed Name and title, if any, of Bankruptcy Petition Preparer              Social Security number (If the bankruptcy petition
Address:                                                                     preparer is not an individual, state the Social Security
________________________________________                                              number of the officer, principal, responsible person, or
                                                                                      partner of the bankruptcy petition preparer.) (Required
X_______________________________________                                              by 11 U.S.C. § 110.)
Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

                                                           Certificate of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read this notice.

_________________________________________
Fang, Jimmy                                                                  X___________________________________
                                                                               /s/ Fang, Jimmy
Printed Name(s) of Debtor(s)                                                 Signature of Debtor         Date

Case No. (if known) ____________________                                     X___________________________________
                                                                             Signature of Joint Debtor (if any) Date
